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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


LINDSEY LEMKE, et al.,

          Plaintiffs,                        Case No. 1:17−cv−00257−GJQ−ESC

    v.

MICHIGAN STATE UNIVERSITY, et al.,

          Defendants.
                                        /

                                 CLERK'S NOTICE
The clerk's office has reviewed the following recent filing and notifies the filer
as follows:
TO: John Fraser
RE: Sealed Document − #45
REASON FOR NOTICE: This case is consolidated, with a designated lead
case. This document was electronically filed in the member case, after the
judge has ordered documents be filed in the lead case.
RECOMMENDED ACTION: None. The Clerk's Office will make any
necessary edits to the lead docket.

For further assistance, please contact the ECF Help Desk at
ecfhelp@miwd.uscourts.gov, or by phone at (800) 290−2742 or (616)
456−2206.


                                        CLERK OF COURT

Dated: June 15, 2017              By:    /s/ M. Garcia
                                        Deputy Clerk
